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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           DISTRICT OF MASSACHUSETTS
                                CENTRAL DIVISION



 UNITED STATES OF AMERICA,                           )   Civil Action No. 4:17-cv-40011-TSH
                                                     )
            Plaintiff,                               )   Judge Timothy S. Hillman
                                                     )
            v.                                       )
                                                     )
 DAVID L. TOPPIN, et al.,                            )
                                                     )
                                                     )
            Defendants.                              )

                      Declaration of Jeffrey N. Nuñez in Support of the
              Plaintiff United States of America’s Request for Entry of Default

       I, Jeffrey N. Nuñez, pursuant to 28 U.S.C. Section 1746, state as follows:

       1. I am a trial attorney employed by the United States Department of Justice Tax

Division, Civil Trial Northern Section, to whom the above-captioned case has been assigned.

       2. This action seeks to reduce to judgment certain federal tax assessments made against

the defendant, David L. Toppin, and to enforce federal tax liens against three parcels of real

property located in the Commonwealth of Massachusetts.

       3. On April 20, 2017, the defendant, David L. Toppin was personally served with the

summons along with the United States’ amended complaint, pursuant to Rule 4(e)(2) of the

Federal Rules of Civil Procedure via a process server that I engaged on behalf of the United

States to serve the defendant at his primary residence, located at: 465 Salisbury St., Holden, MA

01520. See Dkt. No. 10.

       4. On May 9, 2017, the defendant filed a motion for an extension of time in which to

answer or otherwise respond to the amended complaint, asking that the deadline for such

response be extended until June 30, 2017. Dkt. No 23.


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       5. On May 12, 2017, the Court granted the defendant’s motion for an enlargement of

time, allowing the defendant David L. Toppin until June 12, 2018, to file an answer to the

amended complaint. Dkt. No. 29.

       6. On June 12, 2017 the defendant David L. Toppin filed a motion to dismiss the

amended complaint on jurisdictional grounds, advancing the arguments that are typical of tax

protesters. Dkt. No. 42

       7. On June 26, 2018, I filed the United States’ opposition to the defendant’s motion to

dismiss. Dkt. No. 45.

       8. On March 15, 2018, this Court denied the defendant David L. Toppin’s motion to

dismiss. Dkt. No. 53.

       9. Accordingly, pursuant to Rule 12(a)(4)(A) of the Federal Rules of Civil Procedure, the

defendant David L. Toppin had 14 days after the denial of his motion to dismiss (14 days after

March 15, 2018) to serve an answer or other response to the amended complaint. The deadline

by which defendant David L. Toppin had to serve an answer or other response was, therefore,

March 29, 2018. The Court has not entered any order modifying this date.

       10. No answer or other response has been received by the undersigned, or filed with the

Court within the time limit set by the Federal Rules of Civil Procedure or fixed by the Court, or

even at any time thereafter, as of the date of this declaration.

       11. Furthermore, pursuant to this Court’s May 9, 2018 Scheduling Order, the defendant

David L. Toppin’s initial disclosures were to be served on counsel for the United States by May

23, 2018. To date, the undersigned counsel has not received the defendant’s initial disclosures.

See Dkt. No. 60.




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       12. On information and belief, the defendant, David L. Toppin, is not minor,

incompetent or a member of the military service, and he has actual notice of this case since he

has appeared, and yet he has refused to file an answer to the amended complaint.

       I declare under penalty of perjury, that the foregoing is true and accurate. Executed on

this 5th day of November, 2018.



                                                     /s/ Jeffrey N. Nuñez
                                                     JEFFREY N. NUÑEZ
                                                     Trial Attorney, Tax Division
                                                     U.S. Department of Justice




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